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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                CASE NO. 1:20-CV-22385-MORENO

 DORA AND ALFRED VILLODAS,

                 Plaintiffs,

           vs.

 SANTANDER CONSUMER USA INC.,

                 Defendant.
 ___________________________________/


                               JOINT STIPULATION TO ARBITRATE

           Plaintiffs Dora Villodas and Alfred Villodas ("Plaintiffa") and defendant Santander

 Consumer USA Inc. ("SC"), by and through their undersigned counsel, hereby submit this Joint

 Stipulation to Arbitrate, stating as follows:

           1.    Plaintiffs commenced this action by filing a complaint against SC on or about

 June 10, 2020. [See Complaint.]

           2.    Plaintiffs and SC have since agreed to arbitrate all of the claims against SC in this

 case pursuant to the parties' arbitration agreement.

           3.    Plaintiffs and SC therefore respectfully request that this Court enter the Agreed

 Order attached hereto as Exhibit "A," which orders that all of the claims against SC in this

 lawsuit be submitted to final, binding arbitration and that this lawsuit be stayed pending the

 conclusion of arbitration.

           4.    WHEREFORE, PREMISES CONSIDERED, the Parties respectfully request that

 this Court enter the Agreed Order attached hereto as Exhibit "A."



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           Respectfully submitted this 22nd day of July, 2020.



 /s/ Heather H. Jones              _____                 /s/ R. Frank Springfield
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 DORA AND ALFRED VILLODAS                               SANTANDER CONSUMER USA INC.




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